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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


THE UNITED STATES OF AMERICA,                Case No. 1:22-cv-00329-BLW

      Plaintiff,                             IDAHO LEGISLATURE’S
                                             OBJECTION TO THE
v.                                           GOVERNMENT’S PROPOSED
                                             ORDER
THE STATE OF IDAHO,

      Defendant,

and

SCOTT BEDKE, in his official capacity as
Speaker of the House of Representatives of
the State of Idaho; CHUCK WINDER, in his
capacity as President Pro Tempore of the
Idaho State Senate; and the SIXTY-SIXTH
IDAHO LEGISLATURE,

      Intervenor-Defendants.




IDAHO LEGISLATURE’S OBJECTION TO THE GOVERNMENT’S PROPOSED ORDER - 1
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       As referenced in today’s hearing, the Speaker of the Idaho House of Representatives

Scott Bedke, Idaho Senate President Pro Tempore Chuck Winder, and the Sixty-Sixth Idaho

Legislature (collectively the “Legislature”), without making any concession or waiving any

argument (see below), has identified the over-reach of the United States’ Proposed Order, Dkt.

17-2, and corrected it with “red-line” edits that limit the injunctive relief to the scope of

EMTALA when properly read and applied in light of the Government’s own theory. Hence,

this filing, including its exhibits, constitutes the Legislature’s Objection to the United States’

Proposed Order.

       Attached Exhibit 1 reflects those “red-line” edits (albeit in blue).

       Attached Exhibit 2 is the same as Exhibit 1 after all edits have been accepted and are

no longer shown in blue.

       Attached Exhibit 3 contains relevant portions of EMTALA.

       By making this filing, the Legislature does not make any concession contrary to or

waive any argument in support of its position that this Court cannot, under the governing legal

and equitable principles and in light of the admissible, credible evidence before the Court,

enter any injunction at all.

Dated this 22nd day of August, 2022.

                                             MORRIS BOWER & HAWS PLLC


                                             By:   /s/ Daniel W. Bower
                                                    Daniel W. Bower

                                              /s/ Monte Neil Stewart
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IDAHO LEGISLATURE’S OBJECTION TO THE GOVERNMENT’S PROPOSED ORDER - 2
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 22nd day of August, 2022, I electronically filed the foregoing
with the Clerk of the Court via the CM/ECF system, which caused the following parties or counsel
to be served by electronic means, as more fully reflected on the Notice of Electronic Filing:

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IDAHO LEGISLATURE’S OBJECTION TO THE GOVERNMENT’S PROPOSED ORDER - 3
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IDAHO LEGISLATURE’S OBJECTION TO THE GOVERNMENT’S PROPOSED ORDER - 4
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IDAHO LEGISLATURE’S OBJECTION TO THE GOVERNMENT’S PROPOSED ORDER - 5
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Society for Maternal-Fetal Medicine, National   Society for Maternal-Fetal Medicine, National
Medical Association, National Hispanic          Medical Association, National Hispanic
Medical Association, American Academy of        Medical Association, American Academy of
Pediatrics, American Academy of Family          Pediatrics, American Academy of Family
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Association, American Medical Association       Association, American Medical Association




                                           /s/ Daniel W. Bower
                                          Daniel W. Bower




IDAHO LEGISLATURE’S OBJECTION TO THE GOVERNMENT’S PROPOSED ORDER - 6
